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 1    SO. CAL. EQUAL ACCESS GROUP
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 3
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 6    Attorneys for Plaintiff
      MIGUEL SOTO
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      MIGUEL SOTO,                                    Case No.: 2:21-cv-01137 MCS (JEMx)
11
                   Plaintiff,                         NOTICE OF VOLUNTARY
12                                                    DISMISSAL OF ENTIRE ACTION
13          vs.                                       WITHOUT PREJUDICE

14
      BULLISH, LLC D/B/A DOMESTIC;
15    HSUN FANG LING, AS TRUSTEE OF
16    THE HSUN FANG LING FAMILY
      TRUST DATED NOVEMBER 4, 2010;
17    and DOES 1 to 10,
18
19                 Defendants.
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21
            PLEASE TAKE NOTICE that MIGUEL SOTO (“Plaintiff”) pursuant to Federal
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      Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire action
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24
      without prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which

25    provides in relevant part:

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             NOTICE OF VOLUNTARY DISMISSAL OF ACTION WITHOUT PREJUDICE
     Case 2:21-cv-01137-MCS-JEM Document 15 Filed 05/18/21 Page 2 of 2 Page ID #:82




 1          (a) Voluntary Dismissal.
 2                (1)   Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
 3                      and any applicable federal statute, the plaintiff may dismiss an action
 4                      without a court order by filing:
 5                      (i)   A notice of dismissal before the opposing party serves either an
 6
                              answer or a motion for summary judgment.
 7
      Defendant has neither answered Plaintiff’s Complaint, nor filed a motion for summary
 8
      judgment. Accordingly, Defendant may be dismissed without an Order of the Court.
 9
10    DATED: May 18, 2021 SO. CAL. EQUAL ACCESS GROUP
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12
                                     By:      /s/ Jason J. Kim
13                                         Jason J. Kim, Esq.
14                                         Attorneys for Plaintiff

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             NOTICE OF VOLUNTARY DISMISSAL OF ACTION WITHOUT PREJUDICE
